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                     Why Cybersecurity Matters:
                     and What Registrars, Enrollment Managers and
                     Higher Education Should Do About It




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                                                                      Registrars and enrollment
    The purpose of this white paper, jointly written
    by the National Student Clearinghouse,
                                                                       managers have critically
    EDUCAUSE and REN-ISAC, is to build upon                           important roles to play in
    registrars’, enrollment managers’, IT’s and higher             securing student data, and third-
    education’s day-to-day, nationwide dialog
    around cybersecurity and vulnerabilities.
                                                                    party services are a major risk.
    The following insight is based on the
    Clearinghouse’s nearly 30-year record of
                                                                     Is your student data secure?
    maintaining the confidentiality and privacy of
    student records and frequent cybersecurity
    conversations with registrars, enrollment
    managers and other institution officials;
    EDUCAUSE and REN-ISAC’s cybersecurity work
    over many years; and current best practices
    expressed in two recent major reports. The
    2018 EDUCAUSE and Deloitte’s Center for
    Higher Education Excellence report urges
    improved communication between the IT
    department and institutional leaders, including
    board members, to more effectively prevent
    attacks and recover after a cyber incident
    occurs. In addition, the 2018 Verizon Data
    Breach Investigations Report sheds light on what
    to watch for, what to do, and what not to do.

    All of us in higher education have a vested
    interest in knowing cybersecurity best practices
    and being empowered to effectively navigate
    the myriad of cyber security challenges. To help
    all institutions, it is very clear that registrars and
    enrollment managers be included as critical
    players in any institution’s cybersecurity team
    and decision-making conversations. We hope
    this paper helps elevate cybersecurity on your
    leadership agenda.




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Why Registrars and Enrollment Managers Need to Care
about Cybersecurity
Registrars and enrollment managers play central roles in an institution’s cybersecurity posture.
The choices you make each day directly affect student data security.
Securing data is a big challenge for higher education institutions. Universities and colleges collect a wide
variety of personal information about their students, including Social Security numbers, birth dates,
financial information, and contact information. Yet there can be a disconnect between that data’s primary
custodians and the information technology (IT) department that manages the systems on which the
information is stored. It is imperative that both the registrar’s office and enrollment management office are
in lockstep with the IT department with respect to the institution’s cybersecurity efforts, to guard against
cyber threats.

Why Information Security is a Challenge
According to the 2017 Verizon Data Breach Investigation Report, state-affiliated actors are targeting
educational institutions.1 Thus, advanced, organized networks of cyberspies, which are sponsored by
other countries, are actively targeting higher education institutions, as a recent FireEye report confirms.2
While it’s tempting to think the institution’s IT department is responsible for protecting and securing
student data, cybersecurity is not solely an IT department issue. Registrars and enrollment managers are
the business owners of the institution’s most sensitive student data. As primary data stewards, registrars
and enrollment managers have an immensely important role to play in ensuring the security
of student data. Coordinating information security practices among all stakeholders is imperative.
A 2018 report from EDUCAUSE and Deloitte’s Center for Higher Education Excellence concluded that
university leaders need to pay better attention to cybersecurity issues. The report emphasizes that
institutional leaders and IT staff need to communicate regularly about cybersecurity issues to prevent
attacks, as well as to respond to incidents effectively.3 A key step for university leaders is gaining a clear
understanding of the institution’s vulnerabilities and specific data security challenges.

Registrars and Enrollment Managers: Key Members of the
Cybersecurity Team
Registrars and enrollment managers make daily decisions that have a direct impact on securing student
data. You establish relationships with vendors and partners to manage the vast flow of information under
your purview. Choosing third-party service providers for transcript ordering services, for instance, is a
good example. If you don’t have data security top of mind, you may make a choice that increases your
institution’s vulnerability.




1
 2017 Data Breach Investigations Report, 10th Edition. Verizon.
2
 https://www.fireeye.com/current-threats/apt-groups.html
3
 https://www2.deloitte.com/insights/us/en/industry/public-sector/cybersecurity-on-higher-education-leadership-agenda.html


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        What Every Registrar and Enrollment Manager Needs to Know
        n The impact of a data breach, and how a breach can happen
        n How student data is being secured
        n What challenges the IT department faces to secure student data
        n What happens if a breach occurs? What aspects of the breach response will the IT department handle,
          and what will be the responsibilities of the registrar’s office and of the enrollment management office?

        What Every Registrar and Enrollment Manager Needs to Do
        n Meet regularly with your CIO and CISO to formulate incident response plans, risk management plans,
          and staff training programs
        n Establish a strong working relationship with the financial aid administrator on your campus to ensure
          compliance with Gramm-Leach-Bliley Act (GLBA) information security rules protecting student data
        n Regularly involve staff in information security discussions (make it a recurring meeting agenda item)
        n Make information security and compliance requirements part of career management planning
        n Work with your IT department to implement the suggestions in this document
        n Inventory where your data resides and who is using it


        How Breaches Happen

                              43%
                were social attacks
                                                         51%
                                              included malware                           62%
            (somebody used a social tool,        (somebody installed                     of breaches featured hacking
             such as email for the attack)5   unauthorized software)5                    (somebody attained unauthorized access)5


           37.6%
     of the breaches
                                                                                                                66%
                                                                                                                of malware was installed
      used desktops                                                                                             via malicious email
    as the conduit to                                                                                           attachments5
 compromising data6

                                         91%                                                                    81%
                                                                              Member Login


           32.3%
       of the breaches                   of cyberattacks
                                                                             Username

                                                                             Password                           of hacking-related breaches
                                         started with a
                                                                        Remember me           Forgot Password


        used people                                                                   Login
                                                                                                                leveraged either stolen and/or
      as a means to                      phishing email4                                                        weak passwords
   compromise data6                                                                                             (somebody used unauthorized access
                                                                                                                to steal credentials and then
                                                                                                                installed unauthorized software)5

                27%
      were discovered
       by third parties
   (somebody outside of the
4
organization informed them
  that they were breached)4
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Cybersecurity Incidents Cost Money, Impact Your Institution’s
Reputation, and Can Hurt the Students You Serve
Breaches are expensive in many ways. Not only do they exact a financial cost in the millions, but they also
harm the institution’s reputation and erode trust.
According to a Ponemon Institute assessment, organizations took, on average, 191 days to identify a data
breach and 66 days to contain it. The average number of breached records for organizations was 28,512.
The average cost of a data breach was $200 per compromised record in the education industry sector.
The average total cost of a data breach for an organization across all industry sectors amounts to over
$7 million.7

Impact on Students
The most important cost to keep in mind is the
long-term cost that students face after they have
had their personal information stolen. Students
trust their institutions to be diligent stewards of
their data. Once the organization has been
breached, however, there is no real way to make
amends. The genie is out of the bottle, and the
data is not coming back.
Students affected by cybersecurity breaches face
significant short-term inconveniences that can
translate to lifelong negative effects if their data
is used. Students may have to:
n Change passwords across their accounts
n Request their credit reports
n Establish fraud alerts on their credit files                            The most important cost to keep
n Freeze their credit reports
                                                                         in mind is the long-term cost that
                                                                         students face after they have had
n Dispute fraudulent activity
                                                                         their personal information stolen,
n Contact financial institutions
                                                                          which can translate into lifelong
n Enroll in identity monitoring services
                                                                        negative effects if their data is used.
n Complete police reports
n Submit formal identity theft reports to the
  Federal Trade Commission (FTC)
If a student’s identity is stolen as a result of a data breach, that student faces even greater challenges.
The student’s credit reports could be affected, and student loans might be delayed or canceled. These
stressors could have a measurable impact on institution performance.
4
 https://cofense.com/enterprise-phishing-susceptibility-report
5
 2017 Data Breach Investigations Report, 10th Edition. Verizon.
6
 Data Breach Digest. Verizon.
7
 https://www.ponemon.org/library/2017-cost-of-data-breach-study-united-states
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    Risk in Plain Sight: Third-Party Vendors
    In a recent survey, “Data Risk in the Third-Party Ecosystem,” the Ponemon Institute8 found that:
    n 56 percent of respondents (of 625 survey responses) confirmed that their organizations experienced a
      data breach caused by one of their vendors, an increase of 7 percent over the previous year.
    n 57 percent of respondents said they are unable to determine if vendors’ safeguards and
      security policies are sufficient to prevent a data breach.
    Beware, third-party vendors are a significant potential risk to your institution’s data security. A
    good example of potential third-party vulnerability arises from contracts with companies that market their
    services to the registrar or enrollment management office, purporting to streamline the office’s workload
    by taking over some process or service. For example, one of the most popular third-party services that
    registrars outsource is transcript ordering services.
    Third-party transcript ordering services appeal to some institutions because they alleviate the burden of
    receiving and fulfilling transcript requests from students and alumni. Like many things that seem too good
    to be true, there is a catch. To fulfill transcript orders, some of these services must be installed behind the
    institution’s firewall.
    When a third-party vendor is granted access within the
    institution’s IT security protections, the institution’s security
    is in their hands. Student data is only as secure as that
                                                                                      If your third-party vendor’s
    third-party vendor. If their systems are compromised,                             systems are compromised,
    cyber criminals, rogue nation-states, and other bad actors
    have access to a highway running right into the institution’s
                                                                                      both student data and the
    systems. At that point, both student data and the rest of the                        rest of the institution’s
    institution’s valuable data is at risk.                                              valuable data is at risk.
    Questions registrars, enrollment managers and other
    higher education staff should ask
    third-party vendors:
    n How quickly and often does your organization patch servers?
    n How quickly and often does your organization patch endpoints?
    n If your organization uses additional third-party services, how do they patch their devices?
    n If your organization’s devices are hosted within our institution, who is responsible for patching and
      ensuring patches are kept up-to-date?
    n Does your organization use multifactor authentication?
    n Does your organization have an incident response plan in place?
    n When and how will we be notified of any security incidents?




    8
        https://www.ponemon.org/library/data-risk-in-the-third-party-ecosystem


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Action steps for registrars, enrollment managers and other higher education staff currently using
third-party services:
n Make sure you have strong cybersecurity-related clauses in your third-party agreements. These clauses
  should include breach notifications that require third parties to notify you if they have a breach.
n Find out whether your third-party providers have had independent security assessments of the
  services they provide. Require them to send you a copy of that assessment before signing a service
  contract and every year before renewing.
n Establish third-party agreements that require third parties to notify you when they share your data with
  any other organization.
n If you use third-party hardware or software behind your firewall, ensure you understand and are
  satisfied with how the third party validates the security of their product and how often they identify and
  fix security flaws (known as patching) with their products.

So What Can You Do? Action Steps for Registrars and
Enrollment Managers
Although the threat is real, and the associated cost is high, improving your office’s security can be done in a
few steps. Here are the top recommendations.

1. Pinpoint your risks
The best way to do this is by meeting with your organization’s IT department leaders. By partnering with
them, you’ll gain a clearer understanding of what they are able to do to protect data, and what security
steps you are responsible for.
Questions to ask your institution’s IT department:
n If we were to experience a breach, where and how would it happen? Where are the weak links?
n How can we resolve these weak links, and who is responsible for resolving them?
n Who or what is accessing our office’s data and how?
n How fast are the devices accessing our data being patched? What is the patch rate?
n Are the devices supporting our data missing patches? If yes, why?

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    n Are all appropriate parts of the student information systems behind a firewall?
    n How often are vulnerability scans performed? Who receives the reports and has responsibility for
      following up?
    n What other barriers and challenges does the registrar’s office and enrollment management office face
      in adopting a more secure posture?
    n How can we address these barriers and challenges?
    n Are there additional security measures recommended for the
      registrar’s office and for the enrollment management office?
      What are they, and how do we start implementing them?                                               93% of breaches could
                                                                                                         have been avoided with
    2. Automate updates at endpoints
                                                                                                          basic cyber hygiene. 10
    Endpoints, defined as any piece of computer hardware with an
    internet connection,9 are a common source of vulnerability for an
    organization.
    The Online Trust Alliance found that “93 percent of those breaches could have been avoided with basic
    cyber hygiene, such as regularly scanning platforms for vulnerabilities and quickly patching them.”10
    According to Verizon’s 2015 DBIR, “99.9 percent of exploited vulnerabilities were compromised more than
    a year after the CVE was published.”11 A CVE (common vulnerabilities and exposures) is a list of common
    identifiers for publicly known cybersecurity vulnerabilities.12 This means that in almost every instance, a fix
    was available, but no one patched the device that was eventually compromised.
    Setting all devices to update automatically is a simple, straightforward action that will significantly boost
    security of all endpoints in the registrar’s office and the enrollment management office.

    3. Be diligent about patching major systems
    Student information systems are often large and complex, sometimes highly customized and configured,
    third-party software. Because of the complexity, customizations, dependencies, and demand for up-time,
    it’s sometimes difficult to apply patches in a timely manner. Ensure that your institution has good patch
    management processes and critical patches are applied in a timely manner.

    4. Implement multifactor authentication
    Multifactor authentication (MFA) is a system that relies on more than one layer of security to authenticate
    a user. In single factor authentication, someone only needs a user ID and password to access data. In
    MFA, however, a user needs the ID and password, plus an extra authentication step. Often, the extra step
    is to enter a code sent via text message or generated by an authorized device or application, such as a
    constantly changing Virtual Private Network (VPN) token. Cybercriminals have become very good at stealing
    password information, but adding a second factor drastically reduces your risk of a breach.




    9
     Endpoints can include desktop computers, laptop computers, tablets, smartphones, and other devices.
    10
      https://otalliance.org/system/files/files/initiative/documents/ota_cyber_incident_trends_report_jan2018.pdf
    11
      2015 Data Breach Investigations Report, 8th Edition. Verizon.
    12
      https://cve.mitre.org


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Implement MFA everywhere possible. This includes:
                                                                                Average total data
n Vital systems, such as systems that store Social Security numbers,
  student financial information, or anything that is personally                  breach cost for an
  identifying to anybody                                                        organization across
n Any server that is publicly accessible, such as the webserver that           all industry sectors is
  hosts your web site
                                                                                     $7+ million.7
n Any device that allows users to access your organization remotely
n Third-party solution providers
n Cloud services
n Programs like remote desktop, Outlook Web Access
n Administrative access to web sites

5. Create an incident response plan
The best time to plan an incident response is before an incident happens. If an incident occurs,
the stress of the crisis situation makes it difficult to approach communications strategically and respond
appropriately.
Questions to ask:
n If our organization is breached and the breach involves a compromise of student data, what are the
  registrar’s actions? What are enrollment management’s actions?
n Do either the registrar’s office or the enrollment management office have notification requirements to
  the organization? To students, faculty and staff? To any federal oversight?
n Once the breach is declared, how soon afterward must we notify faculty, staff, students, alumni, and
  business partners?

6. Know everyone who has access to your data, how, and why
Talk with your office staff, as well as your institution’s IT department, to learn where student data is stored,
who has access to the data you safeguard, and how that data is being used. A note on administrative
access: the fewer users who are designated “administrators,” the better. System administrators are prime
targets for hackers and other cybercriminals. The best practice to apply is the principle of least privilege,
wherein users can only access the minimum information needed to perform their work. Following this
principle, both the registrar and enrollment manager should not have administrative access to institutional
data and be a potential source of a breach.

7. Model good security practices and discuss best practices with your staff
Since information security is everyone’s job, recognize and reward staff who educate themselves on
information security and compliance requirements as they relate to your business function. Talk with your
staff about best practices for handling student data, and make those discussions a regular part of your
meetings. Think creatively about ways to remind faculty and students about the importance of keeping
information safe.


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     8. Train your users against phishing
     According to the 2016 Cofense report, 91 percent of cyberattacks started with a phishing email
     (legitimate-looking email designed to induce individuals to reveal sensitive information)5. Train users
     on the seriousness of the phishing problem, how to recognize phishing, and to report them. Create
     an environment that encourages users to report when they’ve been tricked. Respond quickly to
     those incidents. And, because phishing defenses are imperfect, be sure to implement the MFA
     recommendations made above.

     9. Plan to have regular security review meetings with the IT department
     Maintaining a secure posture requires constant diligence; the risks, threats, and demands are
     ever-changing. Develop a consistent and regular relationship with the IT department to review and
     improve your posture.




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Conclusion
Cybersecurity should be on every registrar and enrollment manager’s radar screen. Taking steps to
understand your institution’s current security capabilities and securing endpoints are excellent steps.
The question of third-party vendors is even more urgent. If you are using third-party vendors, do you know
where your data is stored and how it is being secured? If not, it’s time to find out. That is the only way you
can fulfill your responsibility as a careful steward of student data.

Additional Resources
Ready to take the next step toward safeguarding your office’s student data? The best way to start is by
meeting with your institution’s IT department and reviewing these additional resources:
n National Student Clearinghouse, Privacy Commitment, https://studentclearinghouse.org/about/our-
  privacy-commitment/
n Higher Education Information Security Council (HEISC), Information Security Guide: Effective
  Practices and Solutions for Higher Education (EDUCAUSE), https://spaces.at.internet2.edu/
  display/2014infosecurityguide/Home
n Higher Education Information Security Council (HEISC), Information Security Program Assessment
  Tool (EDUCAUSE), https://library.educause.edu/resources/2015/11/information-security-program-
  assessment-tool
n Higher Education Information Security Council (HEISC), Higher Education Cloud Vendor Assessment
  Tool (EDUCAUSE), https://library.educause.edu/resources/2016/10/higher-education-cloud-vendor-
  assessment-tool
n EDUCAUSE Center for Analysis and Research (ECAR) Research Paper, “Technology in Higher Education:
  Information Security Leadership”, https://library.educause.edu/resources/2016/3/technology-in-higher-
  education-information-security-leadership
n EDUCAUSE and Deloitte’s Center for Higher Education Excellence Report: Elevating Cybersecurity on
  the Higher Education Leadership Agenda, https://www2.deloitte.com/insights/us/en/industry/public-
  sector/cybersecurity-on-higher-education-leadership-agenda.html




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